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  UNITED STATES DISTRICT COURT FOR THE
  DISTRICT OF NEW JERSEY
  -----------------------------------------------------------------x
  ALLISON MARIE KYLE, as guardian ad litem                              Case No.
  for her daughter E.K.L. who is suing as Plaintiff                     2:15-cv-05193-ES-JAD
  on behalf of herself and all others similarly situated,
                                                                        NOTICE OF
                   -against-                                            APPEARANCE BY
                                                                        ROY DEN HOLLANDER
  SELECTIVE SERVICE SYSTEM,
  DIRECTOR OF SELECTIVE SERVICE,
       LAWRENCE G. ROMO, in his official capacity,

                                                 Defendants.
  ------------------------------------------------------------------x

  To the Clerk of this Court and all parties of record:

          Please enter my appearance as counsel in this case for Plaintiff E.K.L., who is

  represented by her mother Allison Marie Kyle as guardian ad litem for E.K.L., and the

  putative plaintiff class.

          I hereby certify under penalty of perjury that I have been admitted pro hac vice to

  practice before the United States District Court for the District of New Jersey in the

  above captioned case. I am a member in good standing of the Appellate Division, First

  Judicial Department of the New York State Supreme Court; the U.S. District Court for

  the Southern District of N.Y.; the U.S. District Court for the Eastern District of N.Y.; the

  U.S. Court of Appeals for the Second Circuit; the U.S. Court of Appeals for the Third

  Circuit; the U.S. Supreme Court; and I am not under suspension or disbarment by these

  courts or by any other court or jurisdiction.

  Dated: August 22, 2015
         New York, N.Y.
                                                       Respectfully submitted,

                                                       /S/ Roy Den Hollander
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                                     Roy Den Hollander, Esq.
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